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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.,

             Defendants.
                                               /


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20066

JEFF GARVIN SMITH et al.,

             Defendants.
                                               /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. No. 12-20387

SMILEY VILLA et al.,

             Defendants.
                                               /

               ORDER GRANTING IN PART AND DENYING IN PART
                 GOVERNMENT’S MOTION TO CONSOLIDATE

      Before the court is the Government’s August 14, 2012 motion to consolidate,

partially opposed by various Defendants. The Government requests that three criminal

cases be consolidated on to one docket for pretrial purposes: United States v. Jeff
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Garvin Smith, et al. (No. 11-20066) and United States v. Smiley Villa (No. 12-20387),

with United States v. Scott William Sutherland, et al. (No. 11-20129). The Government

specifically states that this is not a motion for joinder under Federal Rules of Criminal

Procedure 8 and 13, but instead is a motion brought to conserve judicial and party

resources.

       The court has consulted with the Clerk’s Office and is informed of various

difficulties involved in attempting the type of electronic consolidation envisioned by the

Government. The court is persuaded that these administrative burdens, even

impossibilities, preclude consolidating the matters into one docket. The court, however,

appreciates that these three cases are related and thus, as a practical matter, will keep

them scheduled on the same track. Subject to later revision, all orders entered by the

court will include the captions for all three cases and will be entered on all three

dockets. The parties will be directed to do the same; the parties shall include the

caption as detailed above, and shall file all pleadings and briefs on all three cases until

further order of the court. Accordingly,

       IT IS ORDERED that the Government’s August 14, 2012 motion to consolidate is

GRANTED IN PART and DENIED IN PART. IT IS GRANTED in that the court will track

the three cases together for all pretrial proceedings. IT IS DENIED in that the court will

not consolidate the cases onto one docket.



                                           s/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

Dated: September 7, 2012


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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 7, 2012, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




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